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17                          UNITED STATES DISTRICT COURT

18              IN AND FOR THE CENTRAL DISTRICT OF CALIFORNIA

19   MASSEY ENTERPRISE                         ) CV12-05327 JFW (MRWx)
     INTERNATIONAL, INC., et al.               )
20                                             ) STIPULATION TO EXTEND TIME
                  Plaintiffs,                  ) TO RESPOND TO INITIAL
21                                             ) COMPLAINT BY NOT MORE
           v.                                  ) THAN 30 DAYS (L.R. 8-3)
22                                             )
     ASSOCIATED TELEVISION                     )
23   INTERNATIONAL, et al.                     ) Complaint served: June 22, 2012 and
                                               ) July 9, 2012
24                Defendants.                  ) Current response date: July 13, 2012
                                               ) and July 30, 2012
25                                             ) New response date: August 10, 2012
26

27

28


                JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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